   Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 1 of 38



LIST OF PLAINTIFFS-DECEDENTS’ FAMILY MEMBERS (IIED CLAIMS)
ALPHABETICAL ORDER BY DOMICILE STATE

Alabama
                                                               XVII-XX (17-20);
                           Deceased- Mother of                 #40 (2nd
Price, Estate of Betty     James Price            Alabama      Complaint)
                                                               XVII-XX (17-20);
                           Father/PR of James                  #40 (2nd
Price, John R., Jr.        Price                  Alabama      Complaint)

                           Brother of William                  CDIX-CDXII
Stelpflug, Joseph          Stelpflug              Alabama      (409-412); #130

                           Mother/PR of William                CDIX-CDXII
Stelpflug, Peggy           Stelpflug              Alabama      (409-412); #130

                           Father/PR of William                CDIX-CDXII
Stelpflug, William J.      Stelpflug              Alabama      (409-412); #130

                           Sister of Jeffrey                   CDXXI-CDXXIV
Stokes, Rennitta Johnson   Stokes                 Alabama      (421-424); #116
                                                               XVII-XX (17-20);
                           Brother of James                    #40 (2nd
Price, Joseph S.           Price                  Alabama      Complaint)


California
                           Brother of Joseph                   XXXVII-XL (37-
Boccia, Richard            Boccia                 California   40); #191
                           Mother of Robert                    LXV-LXVIII (65-
Conley, Roberta Li         Conley                 California   68); #91
                                                               CXXI-
                           Brother of Sean                     CXXIV(121-124);
Gallagher, James, Jr.      Gallagher              California   #136
                                                               CXXI-
                           Sister of Sean                      CXXIV(121-124);
Gallagher, Maureen Pare    Gallagher              California   #136
                           Father/PR of Randall                CXXIX-CXXXII
Garcia, Jess               Garcia                 California   (129-132); #177
                           Sister of Randall                   CXXIX-CXXXII
Garcia, Rachel Caldera     Garcia                 California   (129-132); #177
                           Sister of Randall                   CXXIX-CXXXII
Garcia, Rebecca Jewett     Garcia                 California   (129-132); #177
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 2 of 38




                             Brother of Randall                    CXXIX-CXXXII
Garcia, Ronald               Garcia                   California   (129-132); #177
                             Sister of Randall                     CXXIX-CXXXII
Garcia, Roxanne              Garcia                   California   (129-132); #177
                             Brother of Randall                    CXXIX-CXXXII
Garcia, Russell              Garcia                   California   (129-132); #177
                             Mother of Randall                     CXXIX-CXXXII
Garcia, Violet               Garcia                   California   (129-132); #177
                             Daughter of Michael                   CXLI-CXLIV
Gorchinski, Christina        Gorchinski               California   (141-144); #185
                             Widow/PR of Michael                   CXLI-CXLIV
Gorchinski, Judy             Gorchinski               California   (141-144); #185
                             Son of Michael                        CXLI-CXLIV
Gorchinski, Kevin            Gorchinski               California   (141-144); #185
                             Daughter of Michael                   CXLI-CXLIV
Gorchinski, Valerie          Gorchinski               California   (141-144); #185
                             Mother of James                       CLXXXIX-CXCII
Jackowski, Karen Valenti     Jackowski                California   (189-192); #160
                             Brother of Donald                     CDXLI-CDXLIV
Vallone, Anthony             Vallone                  California   (441-444); #51 &
                                                                   CDXLI-CDXLIV
                             Step-Father of Donald                 (441-444); #51 &
Vallone, Charles Phelps      Vallone                  California   214
                                                                   CDXLI-CDXLIV
Vallone, Charles Phelps,     Brother of Donald                     (441-444); #51 &
Jr.                          Vallone                  California   214
                                                                   CDXLI-CDXLIV
                             Father/PR of Donald                   (441-444); #51 &
Vallone, Donald H.           Vallone                  California   214
                                                                   CDXLI-CDXLIV
                             Step-mother of Donald                 (441-444); #51 &
Vallone, Donna Beresford     Vallone                  California   214
                                                                   CDXLI-CDXLIV
                             Mother of Donald                      (441-444); #51 &
Vallone, Donna Phelps        Vallone                  California   214
                                                                   CDXLI-CDXLIV
                             Sister of Donald                      (441-444); #51 &
Vallone, Donna Smith         Vallone                  California   214
                                                                   CDXLI-CDXLIV
                             step-brother of Donald                (441-444); #51 &
Vallone, Michael Beresford   Vallone                  California   214
                                                                   CDXLI-CDXLIV
                             Sister of Donald                      (441-444); #51 &
Vallone, Natalie Lewis       Vallone                  California   214
                                                                   CDXLI-CDXLIV
                             step-sister of Donald                 (441-444); #51 &
Vallone, Susan Beresford     Vallone                  California   214



                                         2
   Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 3 of 38



                                                                    CDXLI-CDXLIV
                             Brother of Donald                      (441-444); #51 &
Vallone, Timothy             Vallone                  California    214
                                                                    CDXLI-CDXLIV
                             step-brother of Donald                 (441-444); #51 &
Vallone, William Beresford   Vallone                  California    214

Colorado
                             Sister of Joseph                       XXXVII-XL (37-
Boccia, Ronnie Weppler       Boccia                   Colorado      40); #191

Connecticut
LaRiviere, Joanne M.         Sister of Steven                       CCXXXVII-CCXL
Zimmerman                    LaRiviere                Connecticut   (237-240); #141
                                                                    CCCLXIX-
                             Father of Peter                        CCCLXXII (369-
Scialabba, Frank             Scialabba                Connecticut   372); #167
                                                                    CCCXCIII-
                             Deceased- Mother of                    CCCXCVI (393-
Smith, Estate of Angela J.   Thomas Smith             Connecticut   396); #65
                                                                    CCCXCIII-
                             Brother of Thomas                      CCCXCVI (393-
Smith, Joseph K., III        Smith                    Connecticut   396); #65
                                                                    CCCXCIII-
                             Father/PR of Thomas                    CCCXCVI (393-
Smith, Joseph K., Jr.        Smith                    Connecticut   396); #65
                                                                    CDXXIX-
                             Widow/PR of Devon                      CDXXXII (429-
Sundar, Doreen               Sundar                   Connecticut   432); #61
                                                                    CDXXXIII-
                             Mother/PR of Stephen                   CDXXXVI (433-
Tingley, Barbara             Tingley                  Connecticut   436); #60
                                                                    CDXXXIII-
                             Sister of Stephen                      CDXXXVI (433-
Tingley, Donna Plickys       Tingley                  Connecticut   436); #60
                                                                    CDXXXIII-
                             Sister of Stephen                      CDXXXVI (433-
Tingley, Nancy Hurlburt      Tingley                  Connecticut   436); #60
                                                                    CDXXXIII-
                             Father/PR of Stephen                   CDXXXVI (433-
Tingley, Richard             Tingley                  Connecticut   436); #60
                                                                    CDXXXIII-
                             Brother of Stephen                     CDXXXVI (433-
Tingley, Russell L.          Tingley                  Connecticut   436); #60
Wigglesworth, Candace        Sister of Dwayne                       CDXLIX-CDLII
Campbell                     Wigglesworth             Connecticut   (449-452); #121
                             Brother to Dwayne                      CDXLIX-CDLII
Wigglesworth, Darrin         Wigglesworth             Connecticut   (449-452); #121



                                         3
   Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 4 of 38




                            Brother to Dwayne                               CDXLIX-CDLII
Wigglesworth, Daryl         Wigglesworth             Connecticut            (449-452); #121
                            Father/PR of Dwayne                             CDXLIX-CDLII
Wigglesworth, Henry         Wigglesworth             Connecticut            (449-452); #121
                            Brother of Dwayne                               CDXLIX-CDLII
Wigglesworth, Mark          Wigglesworth             Connecticut            (449-452); #121
                            Sister of Dwayne                                CDXLIX-CDLII
Wigglesworth, Robyn         Wigglesworth             Connecticut            (449-452); #121
                            Mother/PR of Dwayne                             CDXLIX-CDLII
Wigglesworth, Sandra        Wigglesworth             Connecticut            (449-452); #121
                            Brother of Dwayne                               CDXLIX-CDLII
Wigglesworth, Shawn         Wigglesworth             Connecticut            (449-452); #121

District of Columbia
                                                                            CCCLXI-
                            Brother of Charles                              CCCLXIV (361-
Schnorf, Richard, Jr.       Schnorf                  District of Columbia   364); #108

Florida
                                                                            XXI-XXIV (21-
Beamon, Ashley Tutwiler     Niece of Jess Beamon     Florida                24); #58
                            Brother-in-law of Jess                          XXI-XXIV (21-
Beamon, Donald Calloway     Beamon                   Florida                24); #58
                            Sister/PR of Jess                               XXI-XXIV (21-
Beamon, Patricia Calloway   Beamon                   Florida                24); #58
                            Mother of John                                  XXXIII-XXXVI
Blocker, Alice              Blocker                  Florida                (33-36);#57
                                                                            XXXIII-XXXVI
Blocker, Betty A. Thurman   Sister of John Blocker   Florida                (33-36);#57
                            Brother of John                                 XXXIII-XXXVI
Blocker, Douglas            Blocker                  Florida                (33-36);#57
                            Father/PR of John                               XXXIII-XXXVI
Blocker, John R.            Blocker                  Florida                (33-36);#57
                                                                            XXXIII-XXXVI
Blocker, Joyce Woodle       Sister of John Blocker   Florida                (33-36);#57
                            Brother of John                                 XXXIII-XXXVI
Blocker, Robert L.          Blocker                  Florida                (33-36);#57
                            Father/PR of Robert                             LXV-LXVIII (65-
Conley, James N.            Conley                   Florida                68); #91
                            Sister of Robert                                LXV-LXVIII (65-
Conley, Sharon Petry        Conley                   Florida                68); #91
                            Father of Donald                                CLXIX-CLXXII
Hildreth, Clifton           Hildreth                 Florida                (169-172); #81




                                        4
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 5 of 38




Hildreth, Cynthia Milburn      Sister/PR of Donald                CLXIX-CLXXII
Lake                           Hildreth                 Florida   (169-172); #81
                               Mother of Donald                   CLXIX-CLXXII
Hildreth, Julia                Hildreth                 Florida   (169-172); #81
                               Mother/PR of                       CXCVII-CC(197-
Jenkins, Nathalie C. James     Nathaniel Jenkins        Florida   200)#78
                               Brother of Nathaniel               CXCVII-CC(197-
Jenkins, Stephen M.            Jenkins                  Florida   200)#78
                                                                  CCXXI-CCXXIV
                               Mother of Freas                    (221-224); #102
Kreischer, Doreen              Kreischer                Florida   & 210
                                                                  CCXXI-CCXXIV
                               Father/PR of Freas                 (221-224); #102
Kreischer, Freas, Jr.          Kreischer                Florida   & 210
                                                                  CCXXI-CCXXIV
                               Sister of Freas                    (221-224); #102
Kreischer, Megan Gummer        Kreischer                Florida   & 210
                                                                  CCXXXIII-
                               Brother of Michael                 CCXXXVI (233-
LaRiviere, Eugene              LaRiviere                Florida   236); #77
                                                                  CCXXXIII-
                               Mother/PR of Michael               CCXXXVI (233-
LaRiviere, Joyce Houston       LaRiviere                Florida   236); #77
                                                                  CCXXXIII-
                               Brother of Michael                 CCXXXVI (233-
LaRiviere, William             LaRiviere                Florida   236); #77
                                                                  CCXXXIII-
LaRiviere, Zandra J.           Sister of Michael                  CCXXXVI (233-
Morgan                         LaRiviere                Florida   236); #77
                               Brother of Steven                  CCXXXVII-CCXL
LaRiviere, Michael             LaRiviere                Florida   (237-240); #141
                                                                  CCCI-CCCIV
Nairn, Billie Ann              Mother of David Nairn    Florida   (301-304); #114
                                                                  CCCI-CCCIV
Nairn, Campbell, III           Brother of David Nairn   Florida   (301-304); #114
                               Deceased- Father of                CCCI-CCCIV
Nairn, Campbell J., Jr.        David Nairn              Florida   (301-304); #114
                                                                  CCCI-CCCIV
Nairn, William P.              Brother of David Nairn   Florida   (301-304); #114
                                                                  CCCXLI-
                               Sister of Patrick                  CCCXLIV (341-
Prindeville, Eileen Ahlquist   Prindeville              Florida   344); #68
                                                                  CCCXLI-
Prindeville, Estate of         Deceased- Mother of                CCCXLIV (341-
Barbara                        Patrick Prindeville      Florida   344); #68
                                                                  CCCXLI-
                               Sister/PR of Patrick               CCCXLIV (341-
Prindeville, Kathleen Tara     Prindeville              Florida   344); #68


                                            5
   Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 6 of 38



                                                               CCCXLI-
                             Brother of Patrick                CCCXLIV (341-
Prindeville, Michael G.      Prindeville             Forida    344); #68
                                                               CCCXLI-
                             Father of Patrick                 CCCXLIV (341-
Prindeville, Paul Edward     Prindeville             Florida   344); #68
                                                               CCCXLI-
                             Brother of Patrick                CCCXLIV (341-
Prindeville, Sean Joseph     Prindeville             Florida   344); #68
                                                               CCCLXXXIX-
                             Mother/PR of Kirk                 CCCXCII (389-
Smith, Bobbie Ann            Smith                   Florida   392); #64
                                                               CCCLXXXIX-
                                                               CCCXCII (389-
Smith, Terrence              Brother of Kirk Smith   Florida   392); #64
                             Sister of Jeffrey                 CDXXI-CDXXIV
Stokes, Melvina Wright       Stokes                  Florida   (421-424); #116
                             Brother of Rodney                 CDLIII-CDLVI
Williams, Hilton             Williams                Florida   (453-456); #52
                             Sister of Rodney                  CDLIII-CDLVI
Williams, Rhonda             Williams                Florida   (453-456); #52
                             Mother/PR of Rodney               CDLIII-CDLVI
Williams, Ruth               Williams                Florida   (453-456); #52
                             Father of Rodney                  CDLIII-CDLVI
Williams, Wesley             Williams                Florida   (453-456); #52
                             Brother of Rodney                 CDLIII-CDLVI
Williams, Arlington Jerome   Williams                Florida   (453-456); #52
                             Brother of Rodney                 CDLIII-CDLVI
Williams, Ronald             Williams                Florida   (453-456); #52

Georgia
                             Sister of Leon                    XLI-XLIV (41-
Bohannon, Angela             Bohannon                Georgia   44); #159
                             Mother of Leon                    XLI-XLIV (41-
Bohannon, Carrie             Bohannon                Georgia   44); #159
                             Brother of Leon                   XLI-XLIV (41-
Bohannon, David              Bohannon                Georgia   44); #159
                             Father of Leon                    XLI-XLIV (41-
Bohannon, Leon               Bohannon                Georgia   44); #159
                             Brother of Leon                   XLI-XLIV (41-
Bohannon, Ricki              Bohannon                Georgia   44); #159
                                                               CDLXXXI-
                                                               CDLXXXIV (481-
Boyett, Estate of Norman     Father of John Boyett   Georgia   484); #97,#110
                                                               CDLXXXI-
                                                               CDLXXXIV (481-
Boyett, Lavon                Mother of John Boyett   Georgia   484); #97,#110


                                          6
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 7 of 38



                                                                CDLXXXI-
                                                                CDLXXXIV (481-
Boyett, William Andrew       Brother of John Boyett   Georgia   484); #97,#110
                             Father of John                     CLXXVII-CLXXX
Hudson, Estate of Samuel     Hudson                   Georgia   (177-180); #113
                             Brother of John                    CLXXVII-CLXXX
Hudson, Lorenzo              Hudson                   Georgia   (177-180); #113
                             Mother of John                     CLXXVII-CLXXX
Hudson, Lucy                 Hudson                   Georgia   (177-180); #113
                                                                CLXXVII-CLXXX
Hudson, Ruth                 Sister of John Hudson    Georgia   (177-180); #113
                                                                CCLXV-
                             Sister of Charlie                  CCLXVIII (265-
Martin, Corene Jones         Martin                   Georgia   268); #75
                                                                CCLXV-
                             Sister of Charlie                  CCLXVIII (265-
Martin, Gussie Williams      Martin                   Georgia   268); #75
                                                                CCLXV-
                             Brother of Charlie                 CCLXVIII (265-
Martin, John                 Martin                   Georgia   268); #75
                                                                CCLXV-
                             Sister of Charlie                  CCLXVIII (265-
Martin, Linda Johnson        Martin                   Georgia   268); #75
                                                                CCLXV-
                             Sister of Charlie                  CCLXVIII (265-
Martin, Mary E. Thompson     Martin                   Georgia   268); #75
                                                                CCLXV-
                             Mother of Charlie                  CCLXVIII (265-
Martin, Ruby                 Martin                   Georgia   268); #75
                                                                CCCXXI-
                             Mother of John                     CCCXXIV (321-
Pearson, Melrose Ricks       Pearson                  Georgia   324); #117
                                                                CCCXXXVII-
                             Brother of Victor                  CCCXL (337-
Prevatt, Lee H.              Prevatt                  Georgia   340); #165
                                                                CCCXXXVII-
Prevatt, Sandra Rhodes       Mother/PR of Victor                CCCXL (337-
Young                        Prevatt                  Georgia   340); #165
                                                                CCCXXXVII-
                             Father of Victor                   CCCXL (337-
Prevatt, Victor Thorton      Prevatt                  Georgia   340); #165
                             Great Aunt & Legal                 CCCLXXXI-
Shropshire, Estate of Lula   Guardian of Jerryl                 CCCLXXXIV
Mae Watkins                  Shropshire               Georgia   (381-384); #181
                                                                CCCLXXXI-
Shropshire, Geraldine        Granddaughter of Lula              CCCLXXXIV
Morgan                       Mae                      Georgia   (381-384); #181
                                                                CCCLXXXI-
Shropshire, Simon Watkins    Son of Lula Mae          Georgia   CCCLXXXIV


                                          7
   Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 8 of 38



                                                                     (381-384); #181

                                Sister of William                    CDIX-CDXII
 Stelpflug, Christy Williford   Stelpflug                 Georgia    (409-412); #130
                                Sister of Jeffrey                    CDXXI-CDXXIV
 Stokes, Dianne Williams        Stokes                    Georgia    (421-424); #116
 Stokes, Estate of Nelson,      Father of Jeffrey                    CDXXI-CDXXIV
 Sr.                            Stokes                    Georgia    (421-424); #116
 Stokes, Gwen Stokes-           Sister of Jeffrey                    CDXXI-CDXXIV
 Graham                         Stokes                    Georgia    (421-424); #116
                                Mother/PR of Jeffrey                 CDXXI-CDXXIV
 Stokes, Irene                  Stokes                    Georgia    (421-424); #116
                                Sister of Jeffrey                    CDXXI-CDXXIV
 Stokes, Leshune Clark          Stokes                    Georgia    (421-424); #116
                                Brother of Jeffrey                   CDXXI-CDXXIV
 Stokes, Nelson, Jr.            Stokes                    Georgia    (421-424); #116
                                Brother of Jeffrey                   CDXXI-CDXXIV
 Stokes, Robert                 Stokes                    Georgia    (421-424); #116


Illinois
                                                                     XXV-XXVIII (25-
 Belmer, Alue B                 Father of Alvin Belmer    Illinois   28); #145
                                                                     XXV-XXVIII (25-
 Belmer, Annette                Sister of Alvin Belmer    Illinois   28); #145
                                Brother of Alvin                     XXV-XXVIII (25-
 Belmer, Clarence               Belmer                    Illinois   28); #145
                                                                     XXV-XXVIII (25-
 Belmer, Denise                 Sister of Alvin Belmer    Illinois   28); #145
                                                                     XXV-XXVIII (25-
 Belmer, Donna                  Sister of Alvin Belmer    Illinois   28); #145
                                Brother of Alvin                     XXV-XXVIII (25-
 Belmer, Kenneth                Belmer                    Illinois   28); #145
                                Mother/PR of Alvin                   XXV-XXVIII (25-
 Belmer, Luddie                 Belmer                    Illinois   28); #145
                                                                     CCXLV-
                                Father of Joseph                     CCXLVIII (245-
 Livingston, Estate of John     Livingston                Illinois   248); #103
                                                                     CCCXXIX-
                                                                     CCCXXXII (329-
 Phillips, Elizabeth P. Moy     Sister of John Phillips   Illinois   332); #206
                                                                     CCCXXIX-
                                Brother of John                      CCCXXXII (329-
 Phillips, Harold T.            Phillips                  Illinois   332); #206




                                             8
   Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 9 of 38



                                                                   CCCXXIX-
                                                                   CCCXXXII (329-
Phillips, John Arthur, Sr.   Father of John Phillips    Illinois   332); #206
                                                                   CCCXXIX-
                             Mother/PR of John                     CCCXXXII (329-
Phillips, Nancy B. Fox       Phillips                   Illinois   332); #206
                                                                   CCCXXIX-
                                                                   CCCXXXII (329-
Phillips, Victoria Jacobus   Sister of John Phillips    Illinois   332); #206
                                                                   CCCLXXIII-
                             Deceased- Father of                   CCCLXXVI (373-
Scott, Estate of Larry L.    Gary Scott                 Illinois   376); #148
                                                                   CCCLXXIII-
                                                                   CCCLXXVI (373-
Scott, Jon C.                Brother of Gary Scott      Illinois   376); #148
                                                                   CCCLXXIII-
                                                                   CCCLXXVI (373-
Scott, Kevin James           Brother of Gary Scott      Illinois   376); #148
                                                                   CCCLXXIII-
                             Mother/PR of Gary                     CCCLXXVI (373-
Scott, Mary Ann              Scott                      Illinois   376); #148
                                                                   CCCLXXIII-
                                                                   CCCLXXVI (373-
Scott, Stephen               Brother of Gary Scott      Illinois   376); #148
                                                                   CCCLXXIII-
                                                                   CCCLXXVI (373-
Scott, Susan Jordan          Sister of Gary Scott       Illinois   376); #148
                             Mother to William                     CDI-CDIV (401-
Sommerhof, Jocelyn           Sommerhof                  Illinois   404); #63
                             Brother of William                    CDI-CDIV (401-
Sommerhof, John A.           Sommerhof                  Illinois   404); #63
                             Father/PR of William                  CDI-CDIV (401-
Sommerhof, William           Sommerhof                  Illinois   404); #63
                                                                   CDXXV-
                             Brother of Eric                       CDXXVIII (425-
Sturghill, Marcus D.         Sturghill                  Illinois   428); #150
                                                                   CDXXV-
                             Father/PR of Eric                     CDXXVIII (425-
Sturghill, Marcus L., Jr.    Sturghill                  Illinois   428); #150
                                                                   CDXXV-
                                                                   CDXXVIII (425-
Sturghill, Nakeshia Lynn     Sister of Eric Sturghill   Illinois   428); #150

Indiana
                                                                   CIX-CXII (109-
Estes, Theresa Catano        Sister of Danny Estes      Indiana    112); #99
                             Mother of Michael                     CXLI-CXLIV
Gorchinski, Patty McPhee     Gorchinski                 Indiana    (141-144); #185



                                           9
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 10 of 38




                            Sister of Michael                 CXLI-CXLIV
Gorchinski, Penny Meyer     Gorchinski            Indiana     (141-144); #185
                            Son of Thomas                     CDXXXVII-CDXL
Thorstad, Adam              Thorstad              Indiana     (437-440); #170
                            Mother of Thomas                  CDXXXVII-CDXL
Thorstad, Barbara           Thorstad              Indiana     (437-440); #170
                            Sister of Thomas                  CDXXXVII-CDXL
Thorstad, Barbara Warwick   Thorstad              Indiana     (437-440); #170
Thorstad, Estate of Susan   sister of Thomas                  CDXXXVII-CDXL
Hugis                       Thorstad              Indiana     (437-440); #170
                            Brother of Thomas                 CDXXXVII-CDXL
Thorstad, James, Jr.        Thorstad              Indiana     (437-440); #170
                            Father/PR of Thomas               CDXXXVII-CDXL
Thorstad, James, Sr.        Thorstad              Indiana     (437-440); #170
                            Sister of Thomas                  CDXXXVII-CDXL
Thorstad, Janice Edquist    Thorstad              Indiana     (437-440); #170
                            brother of Thomas                 CDXXXVII-CDXL
Thorstad, John              Thorstad              Indiana     (437-440); #170
                            Widow of Thomas                   CDXXXVII-CDXL
Thorstad, Kathleen Hedge    Thorstad              Indiana     (437-440); #170
                            Sister of Thomas                  CDXXXVII-CDXL
Thorstad, Kathryn Wallace   Thorstad              Indiana     (437-440); #170
                            Sister of Thomas                  CDXXXVII-CDXL
Thorstad, Patricia Zosso    Thorstad              Indiana     (437-440); #170
                            Son of Thomas                     CDXXXVII-CDXL
Thorstad, Ryan              Thorstad              Indiana     (437-440); #170

Kentucky
                            Brother of Thomas                 CCXIII-CCXVI
Keown, Adam                 Keown                 Kentucky    (213-216); #146
                            Brother of Thomas                 CCXIII-CCXVI
Keown, Bobby, Jr.           Keown                 Kentucky    (213-216); #146
                            Mother/PR of Thomas               CCXIII-CCXVI
Keown, Mary A. Cobble       Keown                 Kentucky    (213-216); #146
                            Brother of Thomas                 CCXIII-CCXVI
Keown, William R.           Keown                 Kentucky    (213-216); #146
                            Mother/PR of Daniel               CCXVII-CCXX
Kluck, Shirley Martin       Kluck                 Kentucky    (217-220); #128
                                                              CCLXXXV-
                            Brother of Ronald                 CCLXXXVIII
Meurer, Jay                 Meurer                Kentucky    (285-288); #162
                                                              CCLXXXV-
                            Father of Ronald                  CCLXXXVIII
Meurer, John                Meurer                Kentucky    (285-288); #162




                                       10
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 11 of 38



                                                               CCLXXXV-
                           Brother of Ronald                   CCLXXXVIII
Meurer, John Thomas        Meurer                  Kentucky    (285-288); #162
                                                               CCLXXXV-
                           Mother/PR of Ronald                 CCLXXXVIII
Meurer, Mary Lou           Meurer                  Kentucky    (285-288); #162
                                                               CCLXXXV-
                           Brother of Ronald                   CCLXXXVIII
Meurer, Michael J.         Meurer                  Kentucky    (285-288); #162
                                                               CCLXXXV-
                           Sister of Ronald                    CCLXXXVIII
Meurer, Robin Lynch        Meurer                  Kentucky    (285-288); #162

Louisiana
Spencer, Deborah Lynn      Sister of Stephen                   CDV-CDVIII
Rhosto                     Spencer                 Louisiana   (405-408); #62

Maryland

                           Mother/PR of                        XCVII-C (97-
Dorsey, Earline Miller     Nathaniel Dorsey        Maryland    100); #87

                           Brother of Nathaniel                XCVII-C (97-
Dorsey, Harry Miller       Dorsey                  Maryland    100); #87

                           Sister of Nathaniel                 XCVII-C (97-
Dorsey, Sharon A. Hilton   Dorsey                  Maryland    100); #87

                           Brother of Davin                    CXLIX-CLII (149-
Green, Damion Brisco       Green                   Maryland    152); #83

                                                               CXLIX-CLII (149-
Green, Deborah L.          Widow of Davin Green    Maryland    152); #83

                                                               CXLIX-CLII (149-
Green, Kia Jones           Sister of Davin Green   Maryland    152); #83

                           Mother/PR of Davin                  CXLIX-CLII (149-
Green, Patricia Wright     Green                   Maryland    152); #83

                           Great Grandmother of                CXLIX-CLII (149-
Green, Rebecca Iverson     Davin Green             Maryland    152); #83

                                                               CXLIX-CLII (149-
Green, Sheria Scott        Sister of Davin Green   Maryland    152); #83




                                       11
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 12 of 38




                           Mother/PR of Jeffrey                   CXCIII-CXCVI
James, Elaine M.           James                  Maryland        (193-196); #79
                                                                  CCCXVII-
                           Brother of Ulysses                     CCCXX (317-
Parker, Henry James        Parker                 Maryland        320); #106 & 211
                                                                  CCCXVII-
                           Mother/PR of Ulysses                   CCCXX (317-
Parker, Mary Ruth Ervin    Parker                 Maryland        320); #106 & 211
                                                                  CCCXVII-
                           Brother of Ulysses                     CCCXX (317-
Parker, Ray A. Johnson     Parker                 Maryland        320); #106 & 211
                                                                  CCCXVII-
                           Sister of Ulysses                      CCCXX (317-
Parker, Sharon             Parker                 Maryland        320); #106 & 211
                                                                  CCCXVII-
                           Sister of Ulysses                      CCCXX (317-
Parker, Shirley L. Knox    Paker                  Maryland        320); #106 & 211

                           Father of Horace                       CDXIII-CDXVI
Stephens, Horace           Stephens               Maryland        (413-416); #93

                           Mother of Horace                       CDXIII-CDXVI
Stephens, Joyce            Stephens               Maryland        (413-416); #93

                           Brother of Horace                      CDXIII-CDXVI
Stephens, Keith            Stephens               Maryland        (413-416); #93

                           Sister of Horace                       CDXIII-CDXVI
Stephens, Kimberly Moore   Stephens               Maryland        (413-416); #93

                           Sister of Horace                       CDXIII-CDXVI
Stephens, Leticia Boddie   Stephens               Maryland        (413-416); #93

Massachusetts
                           Brother of Joseph                      XXXVII-XL (37-
Boccia, James              Boccia                 Massachusetts   40); #191
                           Sister of Bradley                      LVII-LX (57-60);
Campus, Brenda Haskell     Campus                 Massachusetts   #133
                           Mother/PR of Bradley                   LVII-LX (57-60);
Campus, Clare              Campus                 Massachusetts   #133
                           Sister of Bradley                      LVII-LX (57-60);
Campus, Gail McDermott     Campus                 Massachusetts   #133




                                       12
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 13 of 38




                             Mother/PR of Michael                   XCIII-XCVI (93-
Devlin, B. Christine         Devlin                 Massachusetts   96; #135
                             Sister of Michael                      XCIII-XCVI (93-
Devlin, Christine Cecca      Devlin                 Massachusetts   96; #135
                             Brother of Michael                     XCIII-XCVI (93-
Devlin, Daniel C.            Devlin                 Massachusetts   96; #135
                             Sister of Michael                      XCIII-XCVI (93-
Devlin, Gabrielle Tubbs      Devlin                 Massachusetts   96; #135
                             Sister of Michael                      XCIII-XCVI (93-
Devlin, Kathleen Mahoney     Devlin                 Massachusetts   96; #135
                             Brother of Michael                     XCIII-XCVI (93-
Devlin, Richard B.           Devlin                 Massachusetts   96; #135
                             Brother of Michael                     XCIII-XCVI (93-
Devlin, Sean F.              Devlin                 Massachusetts   96; #135
                                                                    CXXI-
                             Mother/PR of Sean                      CXXIV(121-124);
Gallagher, Barbara           Gallagher              Massachusetts   #136
                                                                    CXXI-
                             Brother of Sean                        CXXIV(121-124);
Gallagher, Brian             Gallagher              Massachusetts   #136
                                                                    CXXI-
                             Father of Sean                         CXXIV(121-124);
Gallagher, Estate of James   Gallagher              Massachusetts   #136
                                                                    CXXI-
                             Brother of Sean                        CXXIV(121-124);
Gallagher, Kevin             Gallagher              Massachusetts   #136
                                                                    CXXI-
                             Brother of Sean                        CXXIV(121-124);
Gallagher, Michael           Gallagher              Massachusetts   #136
                                                                    CXXI-
                             Sister of Sean                         CXXIV(121-124);
Gallagher, Tara Hanrahan     Gallagher              Massachusetts   #136
                             Mother/PR of Richard                   CXLV-CXLVIII
Gordon, Alice                Gordon                 Massachusetts   (145-148); #138
Gordon, Elaine               Sister of Richard                      CXLV-CXLVIII
Capobianco                   Gordon                 Massachusetts   (145-148); #138
                             Brother of Richard                     CXLV-CXLVIII
Gordon, Joseph               Gordon                 Massachusetts   (145-148); #138
                             Sister of Richard                      CXLV-CXLVIII
Gordon, Linda                Gordon                 Massachusetts   (145-148); #138
                             Deceased- Father of                    CXLV-CXLVIII
Gordon, Norris O.            Richard Gordon         Massachusetts   (145-148); #138
                             Brother of Richard                     CXLV-CXLVIII
Gordon, Paul                 Gordon                 Massachusetts   (145-148); #138
                             Brother of Michael                     CLVII-CLX (157-
Haskell, Jeffrey             Haskell                Massachusetts   160); #111



                                        13
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 14 of 38




                              Mother/PR of Thomas                     CCIX-CCXII
Julian, Joyce                 Julian                  Massachusetts   (209-212); #140
                              Father/PR of Thomas                     CCIX-CCXII
Julian, Karl                  Julian                  Massachusetts   (209-212); #140
LaRiviere, Cheryl             Sister/PR of Steven                     CCXXXVII-CCXL
Cossaboom                     LaRiviere               Massachusetts   (237-240); #141
LaRiviere, Estate of          Father of Steven                        CCXXXVII-CCXL
Richard G.                    LaRiviere               Massachusetts   (237-240); #141
                              Mother of Steven                        CCXXXVII-CCXL
LaRiviere, Janet              LaRiviere               Massachusetts   (237-240); #141
                              Brother of Steven                       CCXXXVII-CCXL
LaRiviere, John M.            LaRiviere               Massachusetts   (237-240); #141
                              Sister of Steven                        CCXXXVII-CCXL
LaRiviere, Lesley             LaRiviere               Massachusetts   (237-240); #141
                              Sister of Steven                        CCXXXVII-CCXL
LaRiviere, Linda J. Rooney    LaRiviere               Massachusetts   (237-240); #141
                              Sister of Steven                        CCXXXVII-CCXL
LaRiviere, Nancy              LaRiviere               Massachusetts   (237-240); #141
                              Brother of Steven                       CCXXXVII-CCXL
LaRiviere, Richard            LaRiviere               Massachusetts   (237-240); #141
                              Brother of Steven                       CCXXXVII-CCXL
LaRiviere, Robert P.          LaRiviere               Massachusetts   (237-240); #141
                                                                      CCCXXV-
                              Brother of Thomas                       CCCXXVIII (325-
Perron, Brett A.              Perron                  Massachusetts   328); #70
                                                                      CCCXXV-
                              Half-Sister of Thomas                   CCCXXVIII (325-
Perron, Deborah J.            Perron                  Massachusetts   328); #70
                                                                      CCCXXV-
Perron, Estate of Christine   Mother of Thomas                        CCCXXVIII (325-
M. Brown                      Perron                  Massachusetts   328); #70
                                                                      CCCXXV-
                              Sister of Thomas                        CCCXXVIII (325-
Perron, Michelle L.           Perron                  Massachusetts   328); #70
                                                                      CCCXXV-
                              Father/PR of Thomas                     CCCXXVIII (325-
Perron, Ronald R.             Perron                  Massachusetts   328); #70
                                                                      CCCXXV-
                              Half-Sister of Thomas                   CCCXXVIII (325-
Perron, Suzanne M. Garza      Perron                  Massachusetts   328); #70
                                                                      CCCXXV-
                              Half-Sister of Thomas                   CCCXXVIII (325-
Perron, Cynthia A. Hurston    Perron                  Massachusetts   328); #70

Minnesota
                                                                      CCCV-CCCVIII
Olson, Estate of Bertha       Mother of John Olson    Minnesota       (305-308); #207


                                         14
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 15 of 38




                                                                  CCCV-CCCVIII
Olson, Estate of Siguard    Father of John Olson    Minnesota     (305-308); #207
                                                                  CCCV-CCCVIII
Olson, Jana M. Christian    Sister of John Olson    Minnesota     (305-308); #207
                                                                  CCCV-CCCVIII
Olson, Julia A. McFarlin    Sister of John Olson    Minnesota     (305-308); #207
                                                                  CCCV-CCCVIII
Olson, Karen L.             Sister of John Olson    Minnesota     (305-308); #207
                                                                  CCCV-CCCVIII
Olson, Randal D.            Brother of John Olson   Minnesota     (305-308); #207
                                                                  CCCV-CCCVIII
Olson, Ronald J.            Brother of John Olson   Minnesota     (305-308); #207
                                                                  CCCV-CCCVIII
Olson, Susan J. Sinsioco    Sister of John Olson    Minnesota     (305-308); #207
                                                                  CCCV-CCCVIII
Olson, Wendy L. Lange       Sister of John Olson    Minnesota     (305-308); #207

Mississippi
                            Sister of William                     CDIX-CDXII
Stelpflug, Kathy Nathan     Stelpflug               Mississippi   (409-412); #130

Missouri
                            Brother of Harold                     CXXXIII-CXXXVI
Ghumm, Billy John           Ghumm                   Missouri      (133-136); #125
                            Brother of Harold                     CXXXIII-CXXXVI
Ghumm, Edward               Ghumm                   Missouri      (133-136); #125
                            Mother of Harold                      CXXXIII-CXXXVI
Ghumm, Hildegard            Ghumm                   Missouri      (133-136); #125
                            Brother of Harold                     CXXXIII-CXXXVI
Ghumm, Jesse                Ghumm                   Missouri      (133-136); #125
                            Father/PR of Harold                   CXXXIII-CXXXVI
Ghumm, Leroy                Ghumm                   Missouri      (133-136); #125
                            Sister of Harold                      CXXXIII-CXXXVI
Ghumm, Rebecca Bowler       Ghumm                   Missouri      (133-136); #125
                                                                  CCXCIII-
                            Mother of Joseph                      CCXCVI (293-
Moore, Betty                Moore                   Missouri      296); #171
                                                                  CCXCIII-
                            Sister of Joseph                      CCXCVI (293-
Moore, Denise Lynn Voyles   Moore                   Missouri      296); #171
                                                                  CCXCIII-
                            Father of Joseph                      CCXCVI (293-
Moore, Harry                Moore                   Missouri      296); #171
                                                                  CCXCIII-
                            Sister of Joseph                      CCXCVI (293-
Moore, Melissa Lea          Moore                   Misssouri     296); #171


                                        15
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 16 of 38



                                                                   CCXCIII-
                             Sister/PR of Joseph                   CCXCVI (293-
Moore, Susan Ann Ray         Moore                    Missouri     296); #171

Nebraska
                                                                   CLXI-CLXIV
Helms, Christopher           Brother of Mark Helms    Nebraska     (161-164); #92
                                                                   CLXI-CLXIV
Helms, Marvin R.             Father of Mark Helms     Nebraska     (161-164); #92
                             Mother/PR of Mark                     CLXI-CLXIV
Helms, Mary Ann Turek        Helms                    Nebraska     (161-164); #92
                                                                   CLXI-CLXIV
Helms, Rebecca Gintonio      Sister of Mark Helms     Nebraska     (161-164); #92
                                                                   CCCV-CCCVIII
Olson, Mary Baumgartner      Sister of John Olson     Nebraska     (305-308); #207

New Mexico
                             Brother of John
Allman, Estate of Theodore   Allman                   New Mexico   IX-XII (9-12); #55
                             Father/PR of John
Allman, Robert R.            Allman                   New Mexico   IX-XII (9-12); #55

New Jersey

                             Deceased- Father of
Burley, Claude               William Burley           New Jersey   V-VIII (5-8), #35
                             Brother of William
Burley, Estate of Dougles    Burley                   New Jersey   V-VIII (5-8), #35
                             Sister/PR of William
Burley, Myra                 Burley                   New Jersey   V-VIII (5-8), #35
Fluegel, Sandra Karen        Half-Sister of Richard                CXIII-CXVI (113-
Bianco                       Fluegel                  New Jersey   116); #201
                             Mother of Richard                     CXIII-CXVI (113-
Fluegel, Sandra Bianco       Fluegel                  New Jersey   116); #201
                                                                   IX-XIII (9-12);
                             Widow/PR of Paul                      #42 (2nd
Innocenzi, Deborah           Innocenzi                New Jersey   complaint)
                                                                   IX-XIII (9-12);
                             Daughter of Paul                      #42 (2nd
Innocenzi, Kristin           Innocenzi                New Jersey   complaint)
                                                                   IX-XIII (9-12);
                             Mother of Paul                        #42 (2nd
Innocenzi, Marie             Innocenzi                New Jersey   complaint)
                                                                   IX-XIII (9-12);
                             Brother of Paul                       #42 (2nd
Innocenzi, Mark J.           Inoocenzi                New Jersey   complaint)



                                         16
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 17 of 38



                                                               IX-XIII (9-12);
                                                               #42 (2nd
Innocenzi, Paul, IV       Son of Paul Innocenzi   New Jersey   complaint)
                                                               IX-XIII (9-12);
                          Father of Paul                       #42 (2nd
Innocenzi, Paul G., Jr.   Innocenzi               New Jersey   complaint)
                                                               IX-XIII (9-12);
                          Brother of Paul                      #42 (2nd
Innocenzi, Scott          Innocenzi               New Jersey   complaint)
                                                               CCXXIX-
                          Father of James                      CCXXXII (229-
Langon, James J., Sr.     Langon                  New Jersey   232); #147
                                                               CDLXXVII-
                          Brother of Jeffrey                   CDLXXX (477-
Young, John W., II        Young                   New Jersey   480); #54
                                                               CDLXXVII-
                          Father of Jeffrey                    CDLXXX (477-
Young, John               Young                   New Jersey   480); #54
                                                               CDLXXVII-
                          Mother/PR of Jeffrey                 CDLXXX (477-
Young, Judith             Young                   New Jersey   480); #54

New York
                          Father/PR of Joseph                  XXXVII-XL (37-
Boccia, Joseph, Sr.       Boccia                  New York     40); #191
                          Mother of Joseph                     XXXVII-XL (37-
Boccia, Patricia          Boccia                  New York     40); #191
                          Brother of Joseph                    XXXVII-XL (37-
Boccia, Raymond           Boccia                  New York     40); #191
                          Father/PR of Jeffrey                 I-IV (1-4)/2nd
Boulos, Joseph            Boulos                  New York     Compl; #34
                          Sister of Jeffrey                    I-IV (1-4)/2nd
Boulos, Lydia             Boulos                  New York     Compl; #34
                          Mother/PR of Jeffrey                 I-IV (1-4)/2nd
Boulos, Marie             Boulos                  New York     Compl; #34
                                                               LXXVII-
                          Brother of Kevin                     LXXXX(77-80);
Coulman, Bryan Thomas     Coulman                 New York     #160
                                                               LXXVII-
                          Brother of Kevin                     LXXXX(77-80);
Coulman, Christopher J.   Coulman                 New York     #160
                                                               LXXVII-
                          Brother of Kevin                     LXXXX(77-80);
Coulman, Dennis M.        Coulman                 New York     #160
                                                               LXXVII-
                          Mother/PR of Kevin                   LXXXX(77-80);
Coulman, Lorraine Mary    Coulman                 New York     #160




                                      17
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 18 of 38



                                                                LXXVII-
                            Brother of Kevin                    LXXXX(77-80);
Coulman, Robert D.          Coulman                  New York   #160
                                                                LXXVII-
                            Father of Kevin                     LXXXX(77-80);
Coulman, Robert Louis       Coulman                  New York   #160
Jackowski, Jacklyn          Sister of James                     CLXXXIX-CXCII
Seguerra                    Jackowski                New York   (189-192); #160
                            Father/PR of James                  CLXXXIX-CXCII
Jackowski, John J., Sr.     Jackowski                New York   (189-192); #160
                            Brother of James                    CLXXXIX-CXCII
Jackowski, John Jr.         Jackowski                New York   (189-192); #160
                            Step-Mother of James                CLXXXIX-CXCII
Jackowski, Mary E.          Jackowski                New York   (189-192); #160
                                                                CCV-CCVIII
Jones, Andrea Grant         Sister of Steven Jones   New York   (205-208); #161
                                                                CCV-CCVIII
Jones, Estate of Syaovure   Sister of Steven Jones   New York   (205-208); #161
                            Brother of Steven                   CCV-CCVIII
Jones, Mark                 Jones                    New York   (205-208); #161
                            Mother of Steven                    CCV-CCVIII
Jones, Ollie                Jones                    New York   (205-208); #161
                                                                CCXLIX-CCLII
Lyon, Earl                  Brother of Paul Lyon     New York   (249-252); #76
                                                                CCXLIX-CCLII
Lyon, Elizabeth House       Sister of Paul Lyon      New York   (249-252); #76
                                                                CCXLIX-CCLII
Lyon, Francisco (Michael)   Brother of Paul Lyon     New York   (249-252); #76
                                                                CCXLIX-CCLII
Lyon, June                  Sister of Paul Lyon      New York   (249-252); #76
                            Mother/PR of Paul                   CCXLIX-CCLII
Lyon, Maria                 Lyon                     New York   (249-252); #76
                                                                CCXLIX-CCLII
Lyon, Paul, Sr.             Father of Paul Lyon      New York   (249-252); #76
                                                                CCXLIX-CCLII
Lyon, Valerie               Sister of Paul Lyon      New York   (249-252); #76
                            Brother of Samuel                   CCLVII-CCLX
Maitland, Alex Griffin      Maitland                 New York   (257-260); #203
                            Half Brother of                     CCLVII-CCLX
Maitland, Kenty Edwards     Samuel Maitland          New York   (257-260); #203
                            Mother of Samuel                    CCLVII-CCLX
Maitland, Leysmal           Maitland                 New York   (257-260); #203
                            Sister/PR of Samuel                 CCLVII-CCLX
Maitland, Shirla            Maitland                 New York   (257-260); #203




                                        18
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 19 of 38



                                                               CCLXIX-
                            Deceased- Father of                CCLXXII (269-
McCall, Estate of Thomas    John McCall             New York   272); #179
                                                               CCLXIX-
                            Mother/PR of John                  CCLXXII (269-
McCall, Mary                McCall                  New York   272); #179
                                                               CCLXIX-
                            Brother of John                    CCLXXII (269-
McCall, Stephen Zone        McCall                  New York   272); #179
                                                               CCLXIX-
                                                               CCLXXII (269-
McCall, Valerie             Sister of John McCall   New York   272); #179
                                                               CCLXXXI-
                            Brother of Richard                 CCLXXXIV (281-
Menkins, Darren             Menkins                 New York   284); #164
                                                               CCLXXXI-
                            Brother of Richard                 CCLXXXIV (281-
Menkins, Gregory            Menkins                 New York   284); #164
                                                               CCLXXXI-
                            Mother/PR of Richard               CCLXXXIV (281-
Menkins, Margaret           Menkins                 New York   284); #164
                                                               CCLXXXIX-
                            sister of Joseph                   CCXCII (289-
Milano, Adel Chios          Milano                  New York   292); #115
                                                               CCLXXXIX-
                            Mother of Joseph                   CCXCII (289-
Milano, Angelino            Milano                  New York   292); #115
                                                               CCLXXXIX-
                            Sister of Joseph                   CCXCII (289-
Milano, Bernadette Jaccom   Milano                  New York   292); #115
                                                               CCLXXXIX-
                            Father of Joseph                   CCXCII (289-
Milano, Peter               Milano                  New York   292); #115
                                                               CCLXXXIX-
                            Sister/PR of Joseph                CCXCII (289-
Milano, Rosalie Donahue     Milano                  New York   292); #115
                                                               CCCXLIX-
                            Brother of Warren                  CCCLII (349-
Richardson, Alan            Richardson              New York   352); #166
                                                               CCCXLIX-
                            Mother of Warren                   CCCLII (349-
Richardson, Beatrice        Richardson              New York   352); #166
                                                               CCCXLIX-
                            Brother of Warren                  CCCLII (349-
Richardson, Eric Michael    Richardson              New York   352); #166
                                                               CCCXLIX-
                            Sister of Warren                   CCCLII (349-
Richardson, Lynnette        Richardson              New York   352); #166
                            Sister of Warren                   CCCXLIX-
Richardson, Vanessa         Richardson              New York   CCCLII (349-


                                        19
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 20 of 38



                                                                      352); #166

                                                                      CCCLXV-
                             Mother/PR of Scott                       CCCLXVIII (365-
Schultz, Beverly             Schultz                 New York         368); #169
                                                                      CCCLXV-
                             Brother of Scott                         CCCLXVIII (365-
Schultz, Dennis James        Schultz                 New York         368); #169
                                                                      CCCLXV-
                             Father of Scott                          CCCLXVIII (365-
Schultz, Dennis R.           Schultz                 New York         368); #169
                             Mother/PR of Craig                       CDXVII-CDXX
Stockton, Dona F.            Stockton                New York         (417-420); #168
Stockton, Estate of Donald   Father of Craig                          CDXVII-CDXX
R.                           Stockton                New York         (417-420); #168
                             Brother of Craig                         CDXVII-CDXX
Stockton, Richard            Stockton                New York         (417-420); #168
                                                                      CDLXXIII-
                                                                      CDLXXVI (473-
Wyche, Alicia Jones          Sister of Craig Wyche   New York         476); #188
                                                                      CDLXXIII-
                             Brother of Craig                         CDLXXVI (473-
Wyche, Glenn                 Wyche                   New York         476); #188
                                                                      CDLXXIII-
                             Brother of Craig                         CDLXXVI (473-
Wyche, James Cherry          Wyche                   New York         476); #188
                                                                      CDLXXIII-
                             Brother of Craig                         CDLXXVI (473-
Wyche, John                  Wyche                   New York         476); #188
                                                                      CDLXXIII-
                             Mother of Craig                          CDLXXVI (473-
Wyche, Sandra D. Jones       Wyche                   New York         476); #188
                                                                      CDLXXIII-
                                                                      CDLXXVI (473-
Wyche, Sonia Cherry          Sister of Craig Wyche   New York         476); #188
                             Father of Samuel                         CCLVII-CCLX
Maitland, Samuel, Sr.        Maitland                New York         (257-260); #203

North Carolina
                             Daughter of Ronny                        XIII-XVI (13-16);
Bates, Laura                 Bates                   North Carolina   #123
Bates, Linda Sue             Widow of Ronny                           XIII-XVI (13-16);
Sandback Fish                Bates                   North Carolina   #123
                             Brother of Ronny                         XIII-XVI (13-16);
Bates, Thomas, Jr.           Bates                   North Carolina   #123
                             Son of James                             XVII-XX (17-20);
Baynard, Stephen             Baynard                 North Carolina   #56



                                         20
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 21 of 38




                            Wife/PR of James                          XVII-XX (17-20);
Baynard, Thomasine          Baynard                  North Carolina   #56
                                                                      XXV-XXVIII (25-
Belmer, Colby Keith         Son of Alvin Belmer      North Carolina   28); #145
                                                                      XXV-XXVIII (25-
Belmer, Faye A.             Widow of Alvin Belmer    North Carolina   28); #145
                            Sister of Richard                         XXIX-XXXII (29-
Blankenship, Dawn M. Goff   Blankenship              North Carolina   32); #95 & 208
                            Widow/PR of Richard                       XXIX-XXXII (29-
Blankenship, Debra Horner   Blankenship              North Carolina   32); #95 & 208
                            Brother of Richard                        XXIX-XXXII (29-
Blankenship,Donald,Jr.      Blankenship              North Carolina   32); #95 & 208
                            Father of Richard                         XXIX-XXXII (29-
Blankenship, Donald, Sr.    Blankenship              North Carolina   32); #95 & 208
Blankenship, Estate of      Mother of Richard                         XXIX-XXXII (29-
Mary                        Blankenship              North Carolina   32); #95 & 208
Blankenship, Rebecca        Sister of Richard                         XXIX-XXXII (29-
Doss                        Blankenship              North Carolina   32); #95 & 208
Blankenship, Richard        Son/Adopted of                            XXIX-XXXII (29-
Norfleet                    Richard Blankenship      North Carolina   32); #95 & 208
Blankenship, Sharon Rose    Sister of Richard                         XXIX-XXXII (29-
Christan                    Blankenship              North Carolina   32); #95 & 208
                            Brother of Leon                           XLI-XLIV (41-
Bohannon, Anthony           Bohannon                 North Carolina   44); #159
                            Widow/PR of Leon                          XLI-XLIV (41-
Bohannon, Edna              Bohannon                 North Carolina   44); #159
                                                                      LIII-LVI (53-56);
Camara, Mecot Echo          Son of Mecot Camara      North Carolina   #190
                            Widow of Mecot                            LIII-LVI (53-56);
Camara, Tammy Howell        Camara                   North Carolina   #190
                            Father/PR of Charles                      LXIX-LXXXII (69-
Cook, Charles F.            Cook                     North Carolina   72); #89
                                                                      LXIX-LXXXII (69-
Cook, Elizabeth Ann         Sister of Charles Cook   North Carolina   72); #89
                            Deceased- Mother of                       LXIX-LXXXII (69-
Cook, Estate of Mary A.     Charles Cook             North Carolina   72); #89
                            Brother of Johnny                         LXXIII-LXXVI
Copeland, Alan Tracy        Copeland                 North Carolina   (73-76); #88
                            Mother/PR of Johnny                       LXXIII-LXXVI
Copeland, Betty             Copeland                 North Carolina   (73-76); #88
                            Father of Johnny                          LXXIII-LXXVI
Copeland, Donald            Copeland                 North Carolina   (73-76); #88
                            Sister of Johnny                          LXXIII-LXXVI
Copeland, Robin Jordon      Copeland                 North Carolina   (73-76); #88



                                       21
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 22 of 38



                                                                     LXXXI-LXXXIV
                           Widow of David                            (81-84); #183 &
Cosner, Barbara Wiseman    Cosner                   North Carolina   212
                                                                     LXXXI-LXXXIV
                           Daughter of David                         (81-84); #183 &
Cosner, LeAnne             Cosner                   North Carolina   212
                                                                     LXXXIX-XCII
                           Brother of Russell                        (89-92); #124 &
Cyzick, Eugene Franklin    Cyzick                   North Carolina   209
                           Widow of Harold                           CXXXIII-CXXXVI
Ghumm, Arlene M.           Ghumm                    North Carolina   (133-136); #125
                                                                     CXXXIII-CXXXVI
Ghumm, Ashley              Son of Harold Ghumm      North Carolina   (133-136); #125
                           Deceased- Son of                          CXXXIII-CXXXVI
Ghumm, Jedaiah             Harold Ghumm             North Carolina   (133-136); #125
                           Daughter of Harold                        CXXXIII-CXXXVI
Ghumm, Moronica B. Davis   Ghumm                    North Carolina   (133-136); #125
                                                                     CXXXVII-CXL
                           Daughter of Timothy                       (137-140); #137
Giblin, Tiffany            Giblin                   North Carolina   & 216
                                                                     CXXXVII-CXL
                           Widow/PR of Timothy                       (137-140); #137
Giblin, Valerie            Giblin                   North Carolina   & 216
                           Widow of Thomas                           CLIII-CLVI(153-
Hairston, Darlene          Hairston                 North Carolina   156);#122
Hairston, Sherry Latoya    Daughter of Thomas                        CLIII-CLVI(153-
Johnson                    Hairston                 North Carolina   156);#122
                           Widow of Stanley                          CLXV-CLXVIII
Hester, Doris P.           Hester                   North Carolina   (165-168); #82
                           Widow of Donald                           CLXIX-CLXXII
Hildreth, Mary Ann         Hildreth                 North Carolina   (169-172); #81
                                                                     CLXIX-CLXXII
Hildreth, Michael W.       Son of Donald Hildreth   North Carolina   (169-172); #81



                           Widow of Samuel                           CCLVII-CCLX
Maitland, Miralda Judith   Maitland                 North Carolina   (257-260); #203
                           Widow/PR of John                          CLXXVII-CLXXX
Hudson, Lisa               Hudson                   North Carolina   (177-180); #113
                                                                     CLXXVII-CLXXX
Hudson, William J.         Son of John Hudson       North Carolina   (177-180); #113
                                                                     CLXXXI-
                           Widow of Maurice                          CLXXXIV (181-
Hukill, Mary Moore         Hukill                   North Carolina   184); #112
Johnston, Alicia Lynnn     Daughter of Edward                        CCI-CCIV (201-
Sanchez                    Johnston                 North Carolina   204); #186



                                       22
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 23 of 38




                             Widow/PR of Edward                       CCI-CCIV (201-
Johnston, Mary L. Buckner    Johnston                North Carolina   204); #186
                                                                      CCXLV-
                             Widow/PR of Joseph                       CCXLVIII (245-
Livingston, Annette          Livingston              North Carolina   248); #103
                                                                      CCXLV-
                             Son of Joseph                            CCXLVIII (245-
Livingston, Joseph           Livingston              North Carolina   248); #103
Macroglou, Deborah M.        Widow of John                            CCLXI-CCLXIV
Coltrane                     Macroglou               North Carolina   (261-264); #202
                             Daughter of John                         CCLXI-CCLXIV
Macroglou, Heather           Macroglou               North Carolina   (261-264); #202
                                                                      CCLXV-
                             Daughter of Charlie                      CCLXVIII (265-
Martin, Charlita Covington   Martin                  North Carolina   268); #75
                                                                      CCLXV-
                             Sister of Charlie                        CCLXVIII (265-
Martin, Florene Carter       Martin                  North Carolina   268); #75
                                                                      CCLXV-
                             Widow/PR of Charlie                      CCLXVIII (265-
Martin, Pacita G.            Martin                  North Carolina   268); #75
                                                                      CCLXV-
                                                                      CCLXVIII (265-
Martin, Renerio              Son of Charlie Martin   North Carolina   268); #75
                                                                      CCLXXXV-
                             Widow of Ronald                          CCLXXXVIII
Meurer, Deborah              Meurer                  North Carolina   (285-288); #162
                                                                      CCLXXXV-
                             Daughter of Ronald                       CCLXXXVIII
Meurer, Jennifer Collier     Meurer                  North Carolina   (285-288); #162
                                                                      CCXCVII-CCC
Myers, Debra                 Sister of Harry Myers   North Carolina   (297-300); #73
                             Mother/PR of Harry                       CCXCVII-CCC
Myers, Geneva                Myers                   North Carolina   (297-300); #73
                                                                      CCXCVII-CCC
Myers, Harry                 Father of Harry Myers   North Carolina   (297-300); #73
                             Widow/PR of David                        CCCI-CCCIV
Nairn, Tammy Freshour        Nairn                   North Carolina   (301-304); #114
                                                                      CCXIII-CCCXVI
Page, Connie M.              Father of Connie Page   North Carolina   (313-316); #71
                             Mother/PR of Connie                      CCXIII-CCCXVI
Page, Judith K.              Page                    North Carolina   (313-316); #71
                                                                      CCCXXI-
                             Daughter of John                         CCCXXIV (321-
Pearson, Helen M.            Pearson                 North Carolina   324); #117
                                                                      CCCXXI-
                                                                      CCCXXIV (321-
Pearson, John L., Jr.        Son of John Pearson     North Carolina   324); #117


                                         23
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 24 of 38



                                                                  CCCXXI-
                          Widow/PR of John                        CCCXXIV (321-
Pearson, Sonia            Pearson                North Carolina   324); #117
                                                                  CCCXXXIII-
                          Widow/PR of William                     CCCXXXVI (333-
Pollard, Margaret         Pollard                North Carolina   336); #69
                                                                  CCCXXXIII-
                          Daughter of William                     CCCXXXVI (333-
Pollard, Stacey Yvonne    Pollard                North Carolina   336); #69
                                                                  CCCXLIX-
                          Father/PR of Warren                     CCCLII (349-
Richardson, Clarence      Richardson             North Carolina   352); #166
                                                                  CCCLXI-
                          Widow/PR of Charles                     CCCLXIV (361-
Schnorf, Lynn Dallachie   Schnorf                North Carolina   364); #108
                                                                  CCCLXIX-
                          Widow of Peter                          CCCLXXII (369-
Scialabba, Jacquelyn      Scialabba              North Carolina   372); #167
                                                                  CCCLXIX-
                          Son/PR of Peter                         CCCLXXII (369-
Scialabba, Samuel Scott   Scialabba              North Carolina   372); #167
                                                                  CCCLXXVII-
                                                                  CCCLXXXX
Shipp, Bryan Richard      Son of Thomas Shipp    North Carolina   (377-389); #149
                                                                  CCCLXXVII-
                          Brother of Thomas                       CCCLXXXX
Shipp, Maurice            Shipp                  North Carolina   (377-389); #149
                                                                  CCCLXXVII-
                          Widow/PR of Thomas                      CCCLXXXX
Shipp, Pauline            Shipp                  North Carolina   (377-389); #149
                          Widow/PR of Vincent                     CCCXCVII-CD
Smith, Ana Smith-Ward     Smith                  North Carolina   (397-400); #109
                          Sister of Vincent                       CCCXCVII-CD
Smith, Cynthia I.         Smith                  North Carolina   (397-400); #109
                          Father of Vincent                       CCCXCVII-CD
Smith, Gen. Keith         Smith                  North Carolina   (397-400); #109
                          Brother of Vincent                      CCCXCVII-CD
Smith, Holly D.           Smith                  North Carolina   (397-400); #109
                                                                  CCCXCVII-CD
Smith, Ian                Son of Vincent Smith   North Carolina   (397-400); #109
                          Brother of Vincent                      CCCXCVII-CD
Smith, Kelly B.           Smith                  North Carolina   (397-400); #109
                          Sister of Vincent                       CCCXCVII-CD
Smith, Lynn Derbyshire    Smith                  North Carolina   (397-400); #109
                          Mother of Vincent                       CCCXCVII-CD
Smith, Shirley L.         Smith                  North Carolina   (397-400); #109
                          Brother of Vincent                      CCCXCVII-CD
Smith, Tadgh A.           Smith                  North Carolina   (397-400); #109


                                     24
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 25 of 38




                               Sister of Vincent                         CCCXCVII-CD
Smith, Tara L. Rose            Smith                    North Carolina   (397-400); #109
                               Brother of Vincent                        CCCXCVII-CD
Smith, Thad D. Gifford         Smith                    North Carolina   (397-400); #109
                               Brother of Vincent                        CCCXCVII-CD
Smith, Timothy B.              Smith                    North Carolina   (397-400); #109
                                                                         CDXLV-
                               Widow of Eric                             CDXLVIII (445-
Washington, Patricia           Washington               North Carolina   448); #151
                               Father of Johnny                          CDLXI-CDLXIV
Williamson, Bill               Williamson               North Carolina   (461-464); #53
                               Brother of Johnny                         CDLXI-CDLXIV
Williamson, David              Williamson               North Carolina   (461-464); #53
Williamson, Elizabeth          Sister of Johnny                          CDLXI-CDLXIV
Adams                          Williamson               North Carolina   (461-464); #53
Williamson, Jewelene           Mother/PR of Johnny                       CDLXI-CDLXIV
Dunlap                         Williamson               North Carolina   (461-464); #53
                               Brother of Johnny                         CDLXI-CDLXIV
Williamson, Tony               Williamson               North Carolina   (461-464); #53
                                                                         CDLXV-
                               Daughter of William                       CDLXVIII (465-
Winter, Amanda E. Crouch       Winter                   North Carolina   468); #131
                                                                         CDLXV-
                               Widow/PR of William                       CDLXVIII (465-
Winter, Melia Winter Collier   Winter                   North Carolina   468); #131
                                                                         CDLXV-
                                                                         CDLXVIII (465-
Winter, Michael Ellis          Son of William Winter    North Carolina   468); #131




Ohio
                               (Deceased) Mother of
Abbott, Mary                   Terry Abbott             Ohio             V-VIII (5-8); #182
                               Father/PR of Terry
Abbott, James                  Abbott                   Ohio             V-VIII (5-8); #182
Abbott, Mary Joe Kirker        Sister of Terry Abbott   Ohio             V-VIII (5-8); #182
Abbott, Tangie Jay
Hollifield                  Sister of Terry Abbott      Ohio             V-VIII (5-8); #182
                            Mother/PR of Paul                            XLIX-LII (49-52);
Callahan, Avenell           Callahan                    Ohio             #173
                            Sister of Paul                               XLIX-LII (49-52);
Callahan, Sandra K. Petrick Callahan                    Ohio             #173
                            Sister of Paul                               XLIX-LII (49-52);
Callahan, Susan Ciupaska Callahan                       Ohio             #173




                                           25
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 26 of 38




                            Brother of Paul                   XLIX-LII (49-52);
Callahan, Michael           Callahan               Ohio       #173
                            Mother/PR of Bryan                CV-CVII (105-
Earle, Leona Mae            Earle                  Ohio       108); #175
                            Father of George                  CXXV-CXXVIII
Gangur, Dimitri Gangur      Gangur                 Ohio       (125-128); #176
Gangur, Helen               Sister of George                  CXXV-CXXVIII
Montgomery                  Gangur                 Ohio       (125-128); #176
                            Sister/PR of George               CXXV-CXXVIII
Gangur, Juliana Rudkowski   Gangur                 Ohio       (125-128); #176
                            Mother of George                  CXXV-CXXVIII
Gangur, Mary                Gangur                 Ohio       (125-128); #176
                            Sister of George                  CXXV-CXXVIII
Gangur, Nada Jurist         Gangur                 Ohio       (125-128); #176
                            Brother of Edward                 CCI-CCIV (201-
Johnston, Charles           Johnston               Ohio       204); #186
                            Father of Edward                  CCI-CCIV (201-
Johnston, Edwin, Jr.        Johnston               Ohio       204); #186
                            Sister of Edward                  CCI-CCIV (201-
Johnston, Mary A. Beck      Johnston               Ohio       204); #186
                            Mother of Edward                  CCI-CCIV (201-
Johnston, Mary Ann          Johnston               Ohio       204); #186

Oklahoma
                            Brother of Daniel                 CCXVII-CCXX
Kluck, Kelly G.             Kluck                  Oklahoma   (217-220); #128
                            Brother of Daniel                 CCXVII-CCXX
Kluck, Michael O.           Kluck                  Oklahoma   (217-220); #128
                            Step-Father of                    CDV-CDVIII
Spencer, Bobby L. Wallace   Stephen Spencer        Oklahoma   (405-408); #62
                            Brother of Stephen                CDV-CDVIII
Spencer, Douglas            Spencer                Oklahoma   (405-408); #62
                            Mother/PR of Stephen              CDV-CDVIII
Spencer, Ila Wallace        Spencer                Oklahoma   (405-408); #62
Spencer, Richard J.         Half Brother of                   CDV-CDVIII
Wallace                     Stephen Spencer        Oklahoma   (405-408); #62
                                                              CDLXIX-
                            Mother of Donald                  CDLXXII (469-
Woollett, Beverly           Woollett               Oklahoma   472); #172
                                                              CDLXIX-
                            Sister of Donald                  CDLXXII (469-
Woollett, Lilla Abbey       Woollett               Oklahoma   472); #172
                                                              CDLXIX-
                            Sister of Donald                  CDLXXII (469-
Woollett, Lyda Guz          Woollett               Oklahoma   472); #172



                                        26
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 27 of 38



                                                                      CDLXIX-
                                Father/PR of Donald                   CDLXXII (469-
Woollett, Paul R.               Woollett               Oklahoma       472); #172

Pennsylvania
                                Mother/PR of John                     XLV-XLVIII (45-
Bonk, Catherine                 Bonk                   Pennsylvania   48); #96
                                                                      XLV-XLVIII (45-
Bonk, Catherine Hunt            Sister of John Bonk    Pennsylvania   48); #96
                                                                      XLV-XLVIII (45-
Bonk, John                      Father of John Bonk    Pennsylvania   48); #96
                                                                      XLV-XLVIII (45-
Bonk, Kevin                     Brother of John Bonk   Pennsylvania   48); #96
                                                                      XLV-XLVIII (45-
Bonk, Patricia Kronenbitter     Sister of John Bonk    Pennsylvania   48); #96
                                                                      XLV-XLVIII (45-
Bonk, Thomas F.                 Brother of John Bonk   Pennsylvania   48); #96
                                Step Mother/PR of                     CXIII-CXVI (113-
Fluegel, Marilou                Richard Fluegel        Pennsylvania   116); #201
                                Sister of Richard                     CXIII-CXVI (113-
Fluegel, Penni Joyce            Fluegel                Pennsylvania   116); #201
                                Brother of Richard                    CXIII-CXVI (113-
Fluegel, Robert J.              Fluegel                Pennsylvania   116); #201
                                Father/PR of Richard                  CXIII-CXVI (113-
Fluegel, Thomas                 Fluegel                Pennsylvania   116); #201
                                Brother of Thomas                     CLIII-CLVI(153-
Hairston, Evans                 Hairston               Pennsylvania   156);#122
                                Sister of Thomas                      CLIII-CLVI(153-
Hairston, Felicia               Hairston               Pennsylvania   156);#122
                                Mother/PR of Thomas                   CLIII-CLVI(153-
Hairston, Julia                 Hairston               Pennsylvania   156);#122
                                                                      CLXXXI-
                                Father/PR of Maurice                  CLXXXIV (181-
Hukill, Henry, D. Jr.           Hukill                 Pennsylvania   184); #112
                                                                      CLXXXI-
                                Brother of Maurice                    CLXXXIV (181-
Hukill, Mark A.                 Hukill                 Pennsylvania   184); #112
                                                                      CLXXXI-
                                Brother of Maurice                    CLXXXIV (181-
Hukill, Matthew S.              Hukill                 Pennsylvania   184); #112
                                                                      CLXXXI-
                                Sister of Maurice                     CLXXXIV (181-
Hukill, Melissa J.              Hukill                 Pennsylvania   184); #112
                                                                      CLXXXI-
                                Sister of Maurice                     CLXXXIV (181-
Hukill, Meredith A. Ingersoll   Hukill                 Pennsylvania   184); #112



                                            27
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 28 of 38



                                                                   CLXXXI-
                           Brother of Maurice                      CLXXXIV (181-
Hukill, Mitchell C.        Hukill                   Pennsylvania   184); #112
                                                                   CLXXXI-
                           Brother of Maurice                      CLXXXIV (181-
Hukill, Monte J.           Hukill                   Pennsylvania   184); #112
                                                                   CLXXXI-
                           Mother of Maurice                       CLXXXIV (181-
Hukill, Virginia           Hukill                   Pennsylvania   184); #112
                                                                   CCXXV-
                           Mother/PR of Keith                      CCXXVIII (225-
Laise, Betty L.            Laise                    Pennsylvania   228); #178
                                                                   CCXXV-
                                                                   CCXXVIII (225-
Laise, Kris                Brother of Keith Laise   Pennsylvania   228); #178
                                                                   CCXXV-
                           Father/PR of Keith                      CCXXVIII (225-
Laise, William             Laise                    Pennsylvania   228); #178
                           Father/PR of John                       CCLXI-CCLXIV
Macroglou, Bill            Macroglou                Pennsylvania   (261-264); #202
                           Brother of John                         CCLXI-CCLXIV
Macroglou, James           Macroglou                Pennsylvania   (261-264); #202
                           Mother of John                          CCLXI-CCLXIV
Macroglou, Lorraine        Macroglou                Pennsylvania   (261-264); #202
                                                                   CCLXXIII-
                           Step-Father of James                    CCLXXVI (273-
McDonough, Carl Kirkwood   McDonough                Pennsylvania   276); #204 & 217
                                                                   CCLXXIII-
McDonough, Carl            Step Brother of James                   CCLXXVI (273-
Kirkwood, Jr.              McDonough                Pennsylvania   276); #204 & 217
                                                                   CCLXXIII-
                           Half Brother of James                   CCLXXVI (273-
McDonough, Edward          McDonough                Pennsylvania   276); #204 & 217
                                                                   CCLXXIII-
                           Brother of James                        CCLXXVI (273-
McDonough, Edward          McDonough                Pennsylvania   276); #204 & 217
                                                                   CCLXXIII-
McDonough, Jeffrey         Step Brother of James                   CCLXXVI (273-
Kirkwood                   McDonough                Pennsylvania   276); #204 & 217
                                                                   CCLXXIII-
                           Sister of James                         CCLXXVI (273-
McDonough, Kathy           McDonough                Pennsylvania   276); #204 & 217
                                                                   CCLXXIII-
McDonough, Sally Jo        Sister of James                         CCLXXVI (273-
Wirick                     McDonough                Pennsylvania   276); #204 & 217
                                                                   CCLXXIII-
                           Brother of James                        CCLXXVI (273-
McDonough, Sean            McDonough                Pennsylvania   276); #204 & 217




                                       28
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 29 of 38



                                                                    CCLXXIII-
McDonough, Shirley          Mother/PR of James                      CCLXXVI (273-
Kirkwood                    McDonough                Pennsylvania   276); #204 & 217
                                                                    CCLXXIII-
                            Sister of James                         CCLXXVI (273-
McDonough, Storm Jones      McDonough                Pennsylvania   276); #204 & 217
Rotondo, Danielle           Niece of Louis                          CCCLIII-CCCLVI
DiGiovanni                  Rotondo                  Pennsylvania   (353-356); 107
Rotondo, Estate of Louis    Father of Louis                         CCCLIII-CCCLVI
Joseph                      Rotondo                  Pennsylvania   (353-356); 107
Rotondo, Estate of Rose     Mother of Louis                         CCCLIII-CCCLVI
Catherine                   Rotondo                  Pennsylvania   (353-356); 107
                            Niece & God Child of                    CCCLIII-CCCLVI
Rotondo, Lisa DiGiovanni    Louis Rotondo            Pennsylvania   (353-356); 107
Rotondo, Marian             Sister/PR of Louis                      CCCLIII-CCCLVI
DiGiovanni                  Rotondo                  Pennsylvania   (353-356); 107
Rotondo, Phyllis            Deceased Sister of                      CCCLIII-CCCLVI
Santorsiero - Estate        Louis Rotondo            Pennsylvania   (353-356); 107
Rotondo, Robert             Brother-in-Law of                       CCCLIII-CCCLVI
DiGiovanni                  Louis Rotondo            Pennsylvania   (353-356); 107
                                                                    CCCLXXXV-
                            Mother/PR of Larry                      CCCLXXXVIII
Simpson, Anna Marie         Simpson                  Pennsylvania   (385-388); #129
                                                                    CCCLXXXV-
                            Father of Larry                         CCCLXXXVIII
Simpson, Larry H., Sr.      Simpson                  Pennsylvania   (385-388); #129
                                                                    CCCLXXXV-
                            Sister of Larry                         CCCLXXXVIII
Simpson, Renee Eileen       Simpson                  Pennsylvania   (385-388); #129
                                                                    CCCLXXXV-
                            Brother of Larry                        CCCLXXXVIII
Simpson, Robert             Simpson                  Pennsylvania   (385-388); #129
                                                                    CCCLXXXV-
Simpson, Sherry Lynn        Sister of Larry                         CCCLXXXVIII
Friedler                    Simpson                  Pennsylvania   (385-388); #129

Rhode Island
                            Widow/PR of Rick                        LXXXV-LXXXVIII
Crudale, Heidi LeGault      Crudale                  Rhode Island   (85-88); #134
                            Mother of Rick                          LXXXV-LXXXVIII
Crudale, Marie              Crudale                  Rhode Island   (85-88); #134
                                                                    LXXXV-LXXXVIII
Crudale, Rosanne Brunette   Sister of Rick Crudale   Rhode Island   (85-88); #134
                                                                    CXXXVII-CXL
                            Sister of Timothy                       (137-140); #137
Giblin, Anne Deal           Giblin                   Rhode Island   & 216




                                         29
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 30 of 38



                                                                   CXXXVII-CXL
                              Sister of Timothy                    (137-140); #137
Giblin, Deborah O'Connor      Giblin                Rhode Island   & 216
                                                                   CXXXVII-CXL
                              Sister of Timothy                    (137-140); #137
Giblin, Geraldine Paolozzi    Giblin                Rhode Island   & 216
                                                                   CXXXVII-CXL
                              Sister of Timothy                    (137-140); #137
Giblin, Jeanne Gattegno       Giblin                Rhode Island   & 216
                                                                   CXXXVII-CXL
                              Mother of Timothy                    (137-140); #137
Giblin, Jeanne                Giblin                Rhode Island   & 216
                                                                   CXXXVII-CXL
                              Sister of Timothy                    (137-140); #137
Giblin, Kathleen Calabro      Giblin                Rhode Island   and 216
                                                                   CXXXVII-CXL
                              Sister of Timothy                    (137-140); #137
Giblin, Margaret Tella        Giblin                Rhode Island   and 216
                                                                   CXXXVII-CXL
                              Brother of Timothy                   (137-140); #137
Giblin, Michael               Giblin                Rhode Island   & 216
                                                                   CXXXVII-CXL
                              Brother of Timothy                   (137-140); #137
Giblin, William               Giblin                Rhode Island   & 216
                                                                   CLXXXV-
                              Mother/PR of Edward                  CLXXXVIII (185-
Iacovino, Elizabeth           Iacovino              Rhode Island   188); #139
                                                                   CLXXXV-
Iacovino, Estate of Edward,   Father of Edward                     CLXXXVIII (185-
Sr.                           Iacovino              Rhode Island   188); #139
                              Sister/PR of David                   CCLIII-CCLVI
Massa, Anna Beard             Massa                 Rhode Island   (253-256); #142
                              Mother of David                      CCLIII-CCLVI
Massa, Christina              Massa                 Rhode Island   (253-256); #142
                              Brother of David                     CCLIII-CCLVI
Massa, Edmund                 Massa                 Rhode Island   (253-256); #142
                              Brother of David                     CCLIII-CCLVI
Massa, Joao                   Massa                 Rhode Island   (253-256); #142
                              Brother of David                     CCLIII-CCLVI
Massa, Jose                   Massa                 Rhode Island   (253-256); #142
                              Brother of David                     CCLIII-CCLVI
Massa, Manuel                 Massa                 Rhode Island   (253-256); #142
                              Brother of David                     CCLIII-CCLVI
Massa, Ramiro                 Massa                 Rhode Island   (253-256); #142
                                                                   CCCLXXVII-
                              Brother of Thomas                    CCCLXXXX
Shipp, James                  Shipp                 Rhode Island   (377-389); #149




                                          30
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 31 of 38



                                                                        CCCLXXVII-
                              Sister of Thomas                          CCCLXXXX
Shipp, Janice D.              Shipp                    Rhode Island     (377-389); #149
                                                                        CCCLXXVII-
                              Sister of Thomas                          CCCLXXXX
Shipp, Karen Collard          Shipp                    Rhode Island     (377-389); #149
                                                                        CCCLXXVII-
                              Brother of Thomas                         CCCLXXXX
Shipp, Raymond D.             Shipp                    Rhode Island     (377-389); #149
                                                                        CCCLXXVII-
                              Brother of Thomas                         CCCLXXXX
Shipp, Russell                Shipp                    Rhode Island     (377-389); #149
                                                                        CCCLXXVII-
                              Mother of Thomas                          CCCLXXXX
Shipp, Theresa Desjardins     Shipp                    Rhode Island     (377-389); #149
                              Sister of Thomas                          CCIX-CCXII
Julian, Shawn Biello          Julian                   Rhode Island     (209-212); #140
                                                                        CXXXVII-CXL
                              Brother of Timothy                        (137-140); #137
Giblin, Donald                Giblin                   Rhode Island     & 216

South Carolina
                              Brother of Ronny                          XIII-XVI (13-16);
Bates, Donnie Duane           Bates                    South Carolina   #123
                              Brother of Ronny                          XIII-XVI (13-16);
Bates, John, Sr.              Bates                    South Carolina   #123
                              Mother of Ronny                           XIII-XVI (13-16);
Bates, Margie                 Bates                    South Carolina   #123
                              Brother of Ronny                          XIII-XVI (13-16);
Bates, Monty                  Bates                    South Carolina   #123
                              Father/PR of Ronny                        XIII-XVI (13-16);
Bates, Thomas C., Sr.         Bates                    South Carolina   #123
Williams, Delma R.            Sister of Scipio                          CDLVII-CDLX
Williams-Edwards              Williams                 South Carolina   (457-460);#120
                              Sister of Scipio                          CDLVII-CDLX
Williams, Erma Smith          Williams                 South Carolina   (457-460);#120
                              Deceased- Mother of                       CDLVII-CDLX
Williams, Estate of Dorothy   Scipio Williams          South Carolina   (457-460);#120
                                                                        CDLVII-CDLX
Williams, George Robinson     Son of Scipio Williams   South Carolina   (457-460);#120
                              Widow/PR of Scipio                        CDLVII-CDLX
Williams, Janet               Williams                 South Carolina   (457-460);#120
                              Brother of Scipio                         CDLVII-CDLX
Williams, Johnny Williams     Williams                 South Carolina   (457-460);#120
                              Brother of Scipio                         CDLVII-CDLX
Williams, Kenneth Watson      Williams                 South Carolina   (457-460);#120



                                          31
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 32 of 38




                                                                       CDLVII-CDLX
Williams, Kevin Coker        Son of Scipio Williams   South Carolina   (457-460);#120
Williams, Keysha Williams-   Daughter of Scipio                        CDLVII-CDLX
Tolliver                     Williams                 South Carolina   (457-460);#120
Williams, Philiece           Daughter of Scipio                        CDLVII-CDLX
Richardson-Mills             Williams                 South Carolina   (457-460);#120
                                                                       CDLVII-CDLX
Willliams, Scipio J.         Son of Scipio Williams   South Carolina   (457-460);#120
                             Daughter of Richard                       CLXXII-CLXXVI
Holberton, Ashley Doray      Holberton                South Carolina   (173-176); #126
                             Widow/PR of Richard                       CLXXII-CLXXVI
Holberton, Patricia Lee      Holberton                South Carolina   (173-176); #126

South Dakota
                             Brother/PR of John                        CCCV-CCCVIII
Olson, Roger S.              Olson                    South Dakota     (305-308); #207

Tennessee
                             Father of Thomas                          CCXIII-CCXVI
Keown, Bobby, Sr.            Keown                    Tennessee        (213-216); #146
                             Half-Brother of                           CCXIII-CCXVI
Keown, Darren                Thomas Keown             Tennessee        (213-216); #146

Texas
                             Brother of Johnnie                        LXI-LXIV (61-
Ceasar, Bruce                Caesar                   Texas            64); #98
                             Sister of Johnnie                         LXI-LXIV (61-
Ceasar, Cathy Lawton         Caesar                   Texas            64); #98
                             Brother of Johnnie                        LXI-LXIV (61-
Ceasar, Frankie              Caesar                   Texas            64); #98
                             Brother of Johnnie                        LXI-LXIV (61-
Ceasar, Freddie              Caesar                   Texas            64); #98
                             Sister of Johnnie                         LXI-LXIV (61-
Ceasar, Linda Howard         Caesar                   Texas            64); #98
                             Mother/PR of Johnnie                      LXI-LXIV (61-
Ceasar, Robbie               Caesar                   Texas            64); #98
                             Half Sister of Johnnie                    LXI-LXIV (61-
Ceasar, Sybil                Caesar                   Texas            64); #98
                             Mother/PR of Danny                        CIX-CXII (109-
Estes, Barbara               Estes                    Texas            112); #99
                                                                       CIX-CXII (109-
Estes, Tammy Chapman         Sister of Danny Estes    Texas            112); #99
                                                                       CCXLV-
                             Sister of Joseph                          CCXLVIII (245-
Livingston, Tia Fox          Livingston               Texas            248); #103


                                         32
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 33 of 38



                                                                 CCLXXVII-
                              Brother of Timothy                 CCLXXX (277-
McMahon, George F.            McMahon                 Texas      280); #104
                                                                 CCLXXVII-
                              Step-Father of                     CCLXXX (277-
McMahon, Herbert Persky       Timothy McMahon         Texas      280); #104
                                                                 CCLXXVII-
                              Sister of Timothy                  CCLXXX (277-
McMahon, Marie E. Russell     McMahon                 Texas      280); #104
                                                                 CCLXXVII-
                              Brother of Timothy                 CCLXXX (277-
McMahon, Michael P.           McMahon                 Texas      280); #104
                                                                 CCLXXVII-
                              Mother/PR of Timothy               CCLXXX (277-
McMahon, Muriel Persky        McMahon                 Texas      280); #104
                                                                 XVII-XX (17-20);
                              Brother of James                   #40 (2nd
Price, Timothy W.             Price                   Texas      Complaint)
                              Sister of William                  CDIX-CDXII
Stelpflug, Laura Barfield     Stelpflug               Texas      (409-412); #130
                              Brother of Danny                   CIX-CXII (109-
Estes, Franklin               Estes                   Texas      112); #99
                                                                 CIX-CXII (109-
Estes, Charles                Father of Danny Estes   Texas      112); #99
                                                                 CIX-CXII (109-
Estes, Theresa Catano         Sister of Danny Estes   Texas      112); #99

Virginia
                              Brother of James                   XVII-XX (17-20);
Baynard, Anthony Lloyd        Baynard                 Virginia   #56
                              Brother of James                   XVII-XX (17-20);
Baynard, Barry                Baynard                 Virginia   #56
                              Nephew of James                    XVII-XX (17-20);
Baynard, David Clark          Baynard                 Virginia   #56
                              Brother of James                   XVII-XX (17-20);
Baynard, Emerson              Baynard                 Virginia   #56
                              Sister of James                    XVII-XX (17-20);
Baynard, Janet Smith          Baynard                 Virginia   #56
Baynard, Mary Francis         Sister of James                    XVII-XX (17-20);
Black                         Baynard                 Virginia   #56
                              Nephew of James                    XVII-XX (17-20);
Baynard, Michael Clark        Baynard                 Virginia   #56
                              Brother-in-law of                  XVII-XX (17-20);
Baynard, Michael Clark, Jr.   James Baynard           Virginia   #56
                              Sister of James                    XVII-XX (17-20);
Baynard, Patricia Miller      Baynard                 Virginia   #56



                                          33
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 34 of 38




                             Brother of James                  XVII-XX (17-20);
Baynard, Phillip             Baynard                Virginia   #56
                             Sister of James                   XVII-XX (17-20);
Baynard, Phyllis Woodford    Baynard                Virginia   #56
                             Sister of James                   XVII-XX (17-20);
Baynard, Rosemary Clark      Baynard                Virginia   #56
                             Brother of James                  XVII-XX (17-20);
Baynard, Timothy             Baynard                Virginia   #56
                             Brother of James                  XVII-XX (17-20);
Baynard, Wayne               Baynard                Virginia   #56
Fulcher, Angela Dawn         Sister of Michael                 CXVII-CXX (117-
Farthing                     Fulcher                Virginia   120);#84
                             Sister of Michael                 CXVII-CXX (117-
Fulcher, Kimberly F. Angus   Fulcher                Virginia   120);#84
                             Sister of Michale                 CXVII-CXX (117-
Fulcher, Phyllis A. Cash     Fulcher                Virginia   120);#84
                             Mother/PR of Michael              CXVII-CXX (117-
Fulcher, Ruby A.             Fulcher                Virginia   120);#84
                             Sister of Richard                 CLXXII-CLXXVI
Holberton, Mary Clyde Hart   Holberton              Virginia   (173-176); #126
                             Brother of Richard                CLXXII-CLXXVI
Holberton, Thomas F.         Holberton              Virginia   (173-176); #126
Knipple, Catherine           Sister of James
Grimsley                     Knipple                Virginia   1-1V (1-4); #101
Knipple, Deborah D.          Sister/PR of James
Peterson                     Knipple                Virginia   1-1V (1-4); #101
                             Deceased- Father of
Knipple, John D.             James Knipple          Virginia   1-1V (1-4); #101
                             Brother of James
Knipple, John R.             Knipple                Virginia   1-1V (1-4); #101
                             Sister of James
Knipple, Laura Reininger     Knipple                Virginia   1-1V (1-4); #101
                             Sister of James
Knipple, Margaret Alvarez    Knipple                Virginia   1-1V (1-4); #101
                             Mother of James
Knipple, Pauline             Knipple                Virginia   1-1V (1-4); #101
                             Brother of Joseph                 CCCIX-CCCXII
Owens, David L.              Owens                  Virginia   (309-312); #72
                             Sister of Joseph                  CCCIX-CCCXII
Owens, Deanna L.             Owens                  Virginia   (309-312); #72
                             Deceased- Father of               CCCIX-CCCXII
Owens, Estate of James       Joseph Owens           Virginia   (309-312); #72
                             Mother/PR of Joseph               CCCIX-CCCXII
Owens, Frances L.            Owens                  Virginia   (309-312); #72



                                        34
 Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 35 of 38




                             Brother of Joseph                   CCCIX-CCCXII
Owens, Steven T.             owens                    Virginia   (309-312); #72
                             Brother of Michael                  CCCLVII-CCCLX
Sauls, Andrew R.             Sauls                    Virginia   (357-360); #66
                             Mother/PR of Michael                CCCLVII-CCCLX
Sauls, Barbara E. Rockwell   Sauls                    Virginia   (357-360); #66
Sauls, Donald E. Rockwell,   Step-Brother of                     CCCLVII-CCCLX
IV                           Michael Sauls            Virginia   (357-360); #66
                             Brother of Michael                  CCCLVII-CCCLX
Sauls, Henry Caleb           Sauls                    Virginia   (357-360); #66
                             Brother of Michael                  CCCLVII-CCCLX
Sauls, Riley A.              Sauls                    Virginia   (357-360); #66
                                                                 CCCLXI-
                             Mother of Charles                   CCCLXIV (361-
Schnorf, Margaret Midler     Schnorf                  Virginia   364); #108
                                                                 CCCLXI-
                             Father of Charles                   CCCLXIV (361-
Schnorf, Richard             Schnorf                  Virginia   364); #108
                                                                 CCCLXI-
                             Brother of Charles                  CCCLXIV (361-
Schnorf, Robert              Schnorf                  Virginia   364); #108
                                                                 CCCLXI-
                             Sister of Charles                   CCCLXIV (361-
Schnorf, Susan               Schnorf                  Virginia   364); #108
                                                                 CDXLV-
Washington, Blanche F.       Sister of Eric                      CDXLVIII (445-
Corry                        Washington               Virginia   448); #151
                                                                 CDXLV-
                             Brother-in-Law of Eric              CDXLVIII (445-
Washington, Charles Corry    Washington               Virginia   448); #151
                                                                 CDXLV-
Washington, Diane            Sister of Eric                      CDXLVIII (445-
Whitener                     Washington               Virginia   448); #151
                                                                 CDXLV-
                             Brother of Eric                     CDXLVIII (445-
Washington, Gerald Foister   Washington               Virginia   448); #151
                                                                 CDXLV-
                             Mother of Eric                      CDXLVIII (445-
Washington, Pearl Olaniji    Washington               Virginia   448); #151
                                                                 CDXLV-
                             Sister of Eric                      CDXLVIII (445-
Washington, Vancine          Washington               Virginia   448); #151
                             Brother of Richard                  CLXXII-CLXXVI
Holberton, Donald C.         Holberton                Virginia   (173-176); #126




                                          35
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 36 of 38



Washington

Allman, Anne Ellen          Mother of John Allman    Washington      IX-XII (9-12); #55

Allman, Debbie Graves       Sister of John Allman    Washington      IX-XII (9-12); #55

Allman, DiAnne Margaret     Sister of John Allman    Washington      IX-XII (9-12); #55

Allman, Susan Terlson       Sister of John Allman    Washington      IX-XII (9-12); #55

Allman, Tammi Ruark         Sister of John Allman    Washington      IX-XII (9-12); #55

West Virginia
                            Sister of Joseph                         XXXVII-XL (37-
Boccia, Virginia Marshall   Boccia                   West Virginia   40); #191
Camara, Billie Jean         Mother/PR of Mecot                       LIII-LVI (53-56);
Bolinger                    Camara                   West Virginia   #190
                            Sister of Mecot                          LIII-LVI (53-56);
Camara, Elisa Rock          Camara                   West Virginia   #190
                            Sister of Mecot                          LIII-LVI (53-56);
Camara, Theresa Riggs       Camara                   West Virginia   #190
                                                                     LXXXI-LXXXIV
                            Father/PR of David                       (81-84); #183 &
Cosner, Harold L.           Cosner                   West Virginia   212
                                                                     LXXXI-LXXXIV
                            Brother of David                         (81-84); #183 &
Cosner, Jeffrey             Cosner                   West Virginia   212
                                                                     LXXXI-LXXXIV
                                                                     (81-84); #183 &
Cosner, Lori Fansler        Sister of David Cosner   West Virginia   212
                                                                     LXXXI-LXXXIV
                            Deceased- Mother of                      (81-84); #183 &
Cosner, Marva Lynn          David Cosner             West Virginia   212
                                                                     LXXXIX-XCII
                            Mother/PR of Russell                     (89-92); #124 &
Cyzick, Mary Mason          Cyzick                   West Virginia   209
                                                                     LXXXIX-XCII
                            Step-Father of Russell                   (89-92); #124 &
Cyzick, Richard L. Mason    Cyzick                   West Virginia   209
                            Brother of Timothy                       CI-CIV (101-
Dunnigan, Chester F.        Dunnigan                 West Virginia   104); #184
                            Mother of Timothy                        CI-CIV (101-
Dunnigan, Claudine Lester   Dunnigan                 West Virginia   104); #184
Dunnigan, Elizabeth Ann     Sister of Timothy                        CI-CIV (101-
Bennett                     Dunnigan                 West Virginia   104); #184




                                       36
  Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 37 of 38




                              Brother/PR of Timothy                   CI-CIV (101-
 Dunnigan, Michael Robert     Dunnigan                West Virginia   104); #184
                              Brother of Timothy                      CI-CIV (101-
 Dunnigan, William            Dunnigan                West Virginia   104); #184


Phillipines
                                                                      CCCXLV-
                              Mother of Diomedes                      CCCXLVIII (345-
 Quirante, Belinda J.         Quirante                Phillipines     348); #67
                                                                      CCCXLV-
                              Sister/PR of                            CCCXLVIII (345-
 Quirante, Belinda J. Riva    Diomedes Quirante       Phillipines     348); #67
                                                                      CCCXLV-
                              Brother of Diomedes                     CCCXLVIII (345-
 Quirante, Edgar J.           Quirante                California      348); #67
                                                                      CCCXLV-
 Quirante, Estate of          Deceased- Father of                     CCCXLVIII (345-
 Godofredo R.                 Diomedes Quirante       Phillipines     348); #67
                                                                      CCCXLV-
                              Sister of Diomedes                      CCCXLVIII (345-
 Quirante, Liberty Q. Gregg   Quirante                Phillipines     348); #67
                                                                      CCCXLV-
                              Brother of Diomedes                     CCCXLVIII (345-
 Quirante, Milton J.          Quirante                Phillipines     348); #67
                                                                      CCCXLV-
                              Sister of Diomedes                      CCCXLVIII (345-
 Quirante, Sabrina            Quirante                Phillipines     348); #67




                                         37
Case 1:01-cv-02094-RCL Document 219-5 Filed 11/15/06 Page 38 of 38




                                38
